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 3   United States Department of Labor
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     San Francisco, California 94103
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 7   Attorneys for HILDA SOLIS, Secretary of Labor,
     United States Department of Labor
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 9
10                          UNITED STATES DISTRICT COURT
11                                DISTRICT OF ARIZONA
12   HILDA SOLIS, Secretary of Labor,  )           Case No.:
     United States Department of Labor,)
13                                     )           COMPLAINT FOR
                  Plaintiff,           )           VIOLATIONS OF THE
14   v.                                )           FAIR LABOR STANDARDS ACT
                                       )
15   HI-HEALTH SUPERMART               )
     CORPORATION, an Arizona           )
16   corporation; SIMON D. CHALPIN, an )
     individual;                       )
17                                     )
                  Defendants.          )
18                                     )
19                                            I.
20            Plaintiff HILDA SOLIS, Secretary of Labor, United States Department of
21   Labor, brings this action to enjoin Defendants HI-HEALTH SUPERMART
22   CORPORATION, an Arizona corporation, and SIMON CHALPIN, an individual,
23   from violating the provisions of sections 7 and 15 of the Fair Labor Standards Act
24   of 1938, as Amended, 29 U.S.C. § 201, et seq. (hereinafter “the Act”), pursuant to
25   section 17 of the Act; and to recover unpaid overtime compensation owing to
26   Defendants’ employees, together with an equal amount as liquidated damages,
27   pursuant to section 16(c) of the Act.
28   ///

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 1                                               II.
 2            Jurisdiction of this action is conferred upon the court by sections 16(c) and
 3   17 of the Act and 28 U.S.C. §1345.
 4                                              III.
 5            (a)   Defendant Hi-Health Supermart Corporation (hereinafter “Hi-
 6   Health”) is and at all times hereinafter mentioned was an Arizona corporation with
 7   an office and a place of business at 7428 E. Karen Drive, Scottsdale, Arizona,
 8   within the jurisdiction of this court and is and at all times hereinafter mentioned
 9   was engaged in the business of retail distribution of health items.
10            (b)   Defendant SIMON CHALPIN, an individual, resides in Carefree,
11   Arizona, within the jurisdiction of this court, and at all times hereinafter mentioned
12   acted directly or indirectly in the interest of Defendant Hi-Health in relation to its
13   employees.
14                                              IV.
15            Defendant Hi-Health is and at all times hereinafter mentioned was engaged
16   in related activities performed through unified operation or common control for a
17   common business purpose and is and at all times hereinafter mentioned was an
18   enterprise within the meaning of section 3(r) of the Act.
19                                               V.
20            Defendant Hi-Health at all times hereinafter mentioned was an enterprise
21   engaged in commerce or in the production of goods for commerce within the
22   meaning of section 3(s)(1)(A) of the Act in that said enterprise at all times
23   hereinafter mentioned had employees engaged in commerce or in the production of
24   goods for commerce, or employees handling, selling, or otherwise working on
25   goods or materials that have been moved in or produced for commerce by any
26   person and in that said enterprise has and has had an annual gross volume of sales
27   made or business done of not less than $500,000.
28   ///

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 1                                           VI.
 2         Defendants have repeatedly violated the provisions of sections 7 and
 3   15(a)(2) of the Act, by employing many of their employees who were engaged in
 4   commerce or in the production of goods for commerce, or who were employed in
 5   an enterprise engaged in commerce or in the production of goods for commerce,
 6   within the meaning of the Act, as aforesaid, for workweeks longer than forty hours
 7   without compensating said employees for their employment in excess of forty
 8   hours per week during such workweeks at rates not less than one and one-half
 9   times the regular rate at which they were employed.
10                                           VII.
11         During the period since at least June 1, 2008, Defendants, as employers
12   subject to the provisions of the Act, have repeatedly violated and continue to
13   violate the aforesaid provisions of the Act. A judgment that enjoins and restrains
14   such violations and includes the restraint of any withholding of payment of unpaid
15   overtime compensation found by the court to be due to present and former
16   employees under the Act is expressly authorized by section 17 of the Act.
17         WHEREFORE, cause having been shown, Plaintiff prays for a judgment
18   against Defendants as follows:
19         1.     For an Order pursuant to section 17 of the Act, permanently enjoining
20   and restraining Defendants, their officers, agents, servants, employees, and those
21   persons in active concert or participation with them from prospectively violating
22   the provisions of section 15 of the Act; and
23         2.     For an Order:
24                (a)   pursuant to section 16(c) of the Act finding Defendants liable
25   for unpaid overtime compensation due Defendants’ employees and for liquidated
26   damages equal in amount to the unpaid compensation found due defendants’
27   employees listed in the attached Exhibit A (additional back wages and liquidated
28   damages may be owed to certain employees presently unknown to Plaintiff for the

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 1   period covered by this complaint); or in the event liquidated damages are not
 2   awarded; and
 3                (b)   pursuant to section 17 enjoining and restraining Defendants,
 4   their officers, agents, servants, employees and those persons in active concert or
 5   participation with defendants, from withholding payment of unpaid back wages
 6   found to be due Defendants’ employees and pre-judgment interest computed at the
 7   underpayment rate established by the Secretary of Treasury pursuant to 26 U.S.C.
 8   6621; and
 9         3.     For an Order awarding Plaintiff the costs of this action; and
10         4.     For an Order granting such other and further relief as may be
11   necessary or appropriate.
12   Dated: April 7, 2011                   M. PATRICIA SMITH
                                            Solicitor of Labor
13
                                            LAWRENCE BREWSTER
14                                          Regional Solicitor
15                                          DAVID M. KAHN
                                            Counsel for ESA Programs
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                                            _______/s/_____________________
18                                          ISABELLA M. FINNEMAN
                                            Senior Trial Attorney
19
                                            U.S. DEPARTMENT OF LABOR
20                                          Attorneys for Plaintiff
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 1                                     EXHIBIT A
 2   AGUILAR, BAUDELIO R.
 3
     ALLEN, KRISTIE L.
 4
 5   ANTHONY, DANIEL S.

 6   ARANGURE, CARLA R.
 7
     AUERBACH, MICHELLE D.
 8
 9   AUSTIN, JOHN D.

10   BARDAWEEL, ALEXANDER N.
11
     BARNES, MONTANA S.
12
13   BAUER, BRENDA M.

14   BEALE, JEREMIE M.
15
     BERNS, ANDREA D.
16
17   BRODERICK, TRUDI M.

18   BUNTEN, REBECCA W.
19
     BUSH, KRISTINE L.
20
21   COLON, PATRICK T.

22   CONS, ROBIN L.
23
     CRUM, VICTORIA M.
24
25   DAMICO, JAMES
26   DEEMS, WENDY P.
27
     DIAMOND, BONNIE L.
28

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 1   ENRIQUEZ, SONIA
 2
     FOSHEE, SUZETTE A.
 3
     GALLAGHER, RICHARD T.
 4
 5   GODDIN, SHERELYN E.
 6
     GOLLY, NICOLE E.
 7
     GUZMAN, DANIEL
 8
 9   HAMEDANIZADEH, PARVIN
10
     HARMON, VALERIE M.
11
12   HASAN, QAZI M.

13   HEISER, DANIEL W.
14
     HILL, PAULA R.
15
16   JANMAN, JAIME L.

17   JOHNSON, HANNAH B.
18
     KOOLSTRA, JOHN H.
19
20   LENHARDT, DANA M.

21   LILLY, ORAN A.
22
     LOPEZ, JOHN R.
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24   LOPEZ, JUAN D.

25   LOSTUMO, ROSEMARY
26
     LYSON, SEAN T.
27
28   MARSCHEL, WILLIAM S.

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 1   McENTIRE, KIMBERLEE A.
 2
     MEAD, MANDI M.
 3
     MEEK, SONIA R.
 4
 5   MICKLEBOROUGH, ALEXIA J.
 6
     MORRIS, CYNTHIA M.
 7
     NUSSER, NANCY A.
 8
 9   O’DONNELO, MARILYN S.
10
     OLLENDICK, JENNIFER
11
12   PATRIDGE, CHRISTINA N.

13   PLACEK, JEFF M.
14
     PORCELLI, CHERYL K.
15
16   SCHOLBERG, ERIC B.

17   SCOVILLE, LILIAN V.
18
     SERVIN, MEGEN A.
19
20   SIMPSON, JASON M.

21   STEPHENS, REBECCA
22
     STORZ, ERNEST J.
23
24   TAFOYA, DANIEL D.

25   TAYLOR, JOSHUA J.
26
     TRAMMEL, GABRIELLE L.
27
28   WESTBROOK, ELIZABETH A.

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 1   WHEAT, KATIE M.
 2
     WILSON, NANCY
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     WOODS, YVONNE N.
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